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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


VALENTINA VELEVA,
on behalf of herself and
FLSA Collective Plaintiffs,

               Plaintiffs,                                  Case No.:

                                                            COLLECTIVE ACTION
                                                            COMPLAINT
       v.
                                                            Jury Trial Demanded


TAMBURI TRATTORIA LTD.,
and FABIO CAMARDION,

               Defendants.


       Plaintiff, VALENTINA VELEVA, (hereinafter, “Plaintiff”), on behalf of herself and

FLSA Collective Plaintiffs, by and through her undersigned attorney, hereby file this Complaint

against Defendants, TAMBURI TRATTORIA LTD., and FABIO CAMARDION (each

individually, “Defendant” or, collectively, “Defendants”), and state as follows:




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                                        INTRODUCTION

       1. Plaintiff alleges, pursuant to the Fair Labor Standards Act, as amended, 29 U.S.C.

§§201 et. seq. (“FLSA”), that she and FLSA Collective Plaintiffs are entitled to recover from

Defendants: (1) unpaid overtime, (2) unpaid minimum wages, (3) compensation for off-the-clock

work, (4) liquidated damages and (5) attorneys’ fees and costs.

       2. Plaintiff further alleges that, pursuant to the New York Labor Law, she and FLSA

Collective Plaintiffs are entitled to recover from Defendants: (1) unpaid overtime, (2) unpaid

minimum wages, (3) unpaid spread of hours premium, (4) liquidated damages and statutory

penalties and (5) attorneys’ fees and costs.

                                 JURISDICTION AND VENUE

       3. This Court has jurisdiction over this controversy pursuant to 29 U.S.C. §216(b), 28

U.S.C. §§1331, 1337 and 1343, and has supplemental jurisdiction over state law claims of

Plaintiff and FLSA Collective Plaintiffs pursuant to 28 U.S.C. §1367.

       4. Venue is proper in the Southern District pursuant to 28 U.S.C. §1391.

                                               PARTIES

       5. Plaintiff, VALENTINA VELEVA, is a resident of Queens County, New York.

       6. Upon information and belief, Defendant, TAMBURI TRATTORIA LTD. d/b/a

MERCATO, is a domestic business corporation organized under the laws of New York, with a

principal place of business and an address for service of process located at 352 WEST 39TH ST,

NEW YORK, NEW YORK, 10018.

       7. Upon information and belief, Defendant, FABIO CAMARDION, is the Chairman or

Chief Executive Officer of Defendant, TAMBURI TRATTORIA LTD. FABIO CAMARDION

exercised control over the terms and conditions of Plaintiff’s employment and those of FLSA



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Collective Plaintiffs. With respect to Plaintiff and other FLSA Collective Plaintiffs, he exercised

his power to (i) fire and hire, (ii) determine rate and method of pay, (iii) set employee schedules,

and (iv) otherwise affect the quality of employment. Plaintiff was hired, and her employment

was terminated, directly by FABIO CAMARDION.

       8. At all relevant times, each of Defendant, TAMBURI TRATTORIA LTD., was and

continues to be an “enterprise engaged in commerce” within the meaning of the FLSA.

       9. At all relevant times, the work performed by Plaintiff and FLSA Collective Plaintiffs

was directly essential to the business operated by Defendants.

       10. Plaintiff has fulfilled all conditions precedent to the institution of this action and/or

such conditions have been waived.

       11. Plaintiff brings claims for relief as a collective action pursuant to FLSA Section

16(b), 29 U.S.C. § 216(b), on behalf of all non-exempt persons employed by Defendants on or

after the date that is six years before the filing of the Complaint in this case as defined herein

(“FLSA Collective Plaintiffs”).

       12. At all relevant times, Plaintiff and the other FLSA Collective Plaintiffs are and have

been similarly situated, have had substantially similar job requirements and pay provisions, and

are and have been subjected to Defendants’ decisions, policies, plans, programs, practices,

procedures, protocols, routines, and rules, all culminating in a willful failure and refusal to pay

them the proper wages due to time shaving, minimum wage and overtime premium at the rate of

one and one half times the regular rate for work in excess of forty (40) hours per workweek. A

subclass of tipped employees has a claim improper tip pooling arrangement in which tipped

employees were required to share tips with non-tipped employees in an invalid pooling




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arrangement mandated by Defendants. The claims of Plaintiff stated herein are essentially the

same as those of the other FLSA Collective Plaintiffs.

       13. The claims for relief are properly brought under and maintained as an opt-in

collective action pursuant to §16(b) of the FLSA, 29 U.S.C. 216(b). The FLSA Collective

Plaintiffs are readily ascertainable. For purposes of notice and other purposes related to this

action, their names and addresses are readily available from the Defendants. Notice can be

provided to the FLSA Collective Plaintiffs via first class mail to the last address known to

Defendants.



                                   STATEMENT OF FACTS

       14. In or about October 2018 Plaintiff, VALENTINA VELENA, was hired by

Defendants, as applicable, to work as a server for Defendants’ restaurant business located at 352

West 39th Street, New York, NY 10018.

       15. Plaintiff worked for Defendants until in or about April 2019.

       16. During the employment of Plaintiff, VALENTINA VELENA, by Defendants, she

worked over forty (40) hours per week. During VALENTINA VELENA’s employment by

Defendants, she worked over ten (10) hours per day.

       17. Specifically, VALENTINA VELENA worked from 11 am until 10 pm on Monday,

from 4 pm until 12 am on Tuesday and Sunday.. She sometimes worked more than 40 hours per

week. Furthermore, Plaintiff was instructed to clock out and keep doing day report for half an

hour after work. VALENTINA VELENA received an hourly rate of $8.65 from the beginning of

her employment until December 31, 2018; and an hourly rate of $ 10.00 from January 1, 2019

until the end of her employment.



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        18. Defendants knowingly and willfully operated their business with a policy of not

paying Plaintiff and FLSA Collective Plaintiffsthe FLSA overtime rate (of time and one-half) or

the New York State overtime rate (of time and one-half) and compensation for off-the-clock

work.

        19. Defendants knowingly and willfully operated their business with a policy of not

paying either the FLSA minimum wage or the New York State minimum wage to the Plaintiff

and FLSA Collective Plaintiffs.

        20. Defendants knowingly and willfully operated their business with a policy of not

paying the New York State “spread of hours” premium to Plaintiff and other non-exempt

employees.

        21. Defendants knowingly and willfully operated their business with a policy of not

providing a proper wage statement to Plaintiff and other non-exempt employees, in violation of

the New York Labor Law. In fact, Plaintiff did not receive any wage statements during their

period of employment with Defendants.

        22. Defendants knowingly and willfully operated their business with a policy of not

providing a proper wage notice to Plaintiff and other non-exempt employees at the beginning of

employment and annually thereafter, in violation of the New York Labor Law.

        23. Defendants took an improper tip credit with respect to Plaintiff and all other tipped

employees of the Defendants given Defendants’ failure to: (i) provide proper notice to

employees of their tipped credit minimum wage rate, (ii) maintain records of tips earned by

employees, (iii) maintain a proper tip pool because non-tipped employees participated in the tip

pool and




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       24. Plaintiff retained Lee Litigation Group, PLLC to represent them and other employees

similarly situated in this litigation and have agreed to pay the firm a reasonable fee for its

services.

                                  STATEMENT OF CLAIM

                                           COUNT I

                 VIOLATION OF THE FAIR LABOR STANDARDS ACT

       25. Plaintiff realleges and reaver Paragraphs 1 through 24 of this Complaint as if fully set

forth herein.

       26. At all relevant times, upon information and belief, Defendants were and continue to

be employers engaged in interstate commerce and/or the production of goods for commerce

within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207 (a). Further, Plaintiff is a covered

individual within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207 (a).

       27. At all relevant times, Defendants employed Plaintiff within the meaning of the FLSA.

       28. Upon information and belief, at all relevant times, each of Defendant, TAMBURI

TRATTORIA LTD., had gross revenues in excess of $500,000.

       29. At all relevant times, the Defendants had a policy and practice of refusing to pay

overtime compensation at the statutory rate of time and one-half to Plaintiff and FLSA Collective

Plaintiffs for their hours worked in excess of forty hours per workweek.

       30. At all relevant times, the Defendants had a policy and practice of refusing to pay the

statutory minimum wage to Plaintiff and FLSA Collective Plaintiffs for their hours worked.

       31. At all relevant time, the Defendants had a policy and practice of time shaving and

refusing to pay Plaintiff and FLSA Collective Plaintiffs for all their compensation earned due to

off-the-clock work.



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        32. Records, if any, concerning the number of hours worked by Plaintiff and FLSA

Collective Plaintiffs and the actual compensation paid to Plaintiff and FLSA Collective Plaintiffs

are in the possession and custody of the Defendants. Plaintiff and FLSA Collective Plaintiffs

intend to obtain these records by appropriate discovery proceedings to be taken promptly in this

case and, if necessary, will then seek leave of Court to amend this Complaint to set forth the

precise amount due.

        33. Defendants knew of and/or showed a willful disregard for the provisions of the FLSA

as evidenced by their failure to compensate Plaintiff and FLSA Collective Plaintiffs at the

statutory rate of time and one-half for their hours worked in excess of forty (40) hours per week

when Defendants knew or should have known such was due.

        34. Defendants failed to properly disclose or apprise Plaintiff of their rights under the

FLSA.

        35. As a direct and proximate result of Defendants’ willful disregard of the FLSA,

Plaintiffs are entitled to liquidated damages pursuant to the FLSA.

        36. Plaintiff is entitled to an award of their reasonable attorneys’ fees and costs pursuant

to 29 U.S.C. §216(b).

                                            COUNT II

                      VIOLATION OF THE NEW YORK LABOR LAW

        37. Plaintiff realleges and reaver Paragraphs 1 through 36 of this Complaint as if fully set

forth herein.

        38. At all relevant times, Plaintiff was employed by the Defendants within the meaning of

the New York Labor Law, §§2 and 651.




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       39. Defendants willfully violated Plaintiff’s rights by failing to pay Plaintiff overtime

compensation at rates not less than one and one-half times the regular rate of pay for each hour

worked in excess of forty hours in a workweek.

       40. Defendants willfully violated Plaintiffs’ rights by failing to pay Plaintiff minimum

wages in the lawful amount for hours worked.

       41. Defendants willfully violated Plaintiff’s rights by failing to pay “spread of hours”

premium to Plaintiff for each workday that exceeded ten (10) or more hours.

       42. Defendants willfully violated Plaintiff’s rights by operating their business with a

policy and practice of time shaving and refusing to pay Plaintiff for all their compensation

earned due to off-the-clock work.

       43. Defendants knowingly and willfully operated their business with a policy of not

providing a proper wage statement to Plaintiff and other non-exempt employees, in violation of

the New York Labor Law.

       44. Defendants knowingly and willfully operated their business with a policy of not

providing a proper wage notice to Plaintiff and other non-exempt employees at the beginning of

employment and annually thereafter, in violation of the New York Labor Law.

       45. Due to the Defendants’ New York Labor Law violations, Plaintiff is entitled to

recover from Defendants their unpaid overtime, unpaid minimum wages, unpaid “spread of

hours” premium, statutory penalties, damages for unreasonably delayed payments, reasonable

attorneys’ fees, and costs and disbursements of the action.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff on behalf of himself and FLSA Collective Plaintiffs,

respectfully requests that this Court grant the following relief:



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a.    A declaratory judgment that the practices complained of herein are unlawful

      under the FLSA and the New York Labor Law;

b.    An injunction against Defendants and their officers, agents, successors,

      employees, representatives and any and all persons acting in concert with them as

      provided by law, from engaging in each of the unlawful practices, policies and

      patterns set forth herein;

c.    An award of unpaid overtime compensation due under the FLSA and the New

      York Labor Law;

d.    An award of unpaid minimum wages due under the FLSA and the [New York

      Labor Law;

e.    An award of unpaid “spread of hours” premium due under the New York Labor

      Law;

f.    An award of liquidated and/or punitive damages as a result of Defendants’ willful

      failure to pay overtime compensation , off the clock work and minimum wages

      pursuant to 29 U.S.C. § 216;

g.    An award of liquidated and/or punitive damages as a result of Defendants’ willful

      failure to pay overtime compensation, minimum wages, off the clock work and

      “spread of hours” premium pursuant to the New York Labor Law;

h.    An award of statutory penalties, and prejudgment and postjudgment interest;

i.    An award of costs and expenses of this action together with reasonable attorneys’

      and expert fees; and

j.    Such other and further relief as this Court deems just and proper.




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                                           JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury on all issues so triable as of right by jury.



Dated: October 30, 2019


                                        Respectfully submitted,

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                                        By:      /s/ C.K. Lee
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